Case 1:19-md-02895-LPS Document 158 Filed 07/23/20 Page 1 of 1 PageID #: 3454




                                          July 23, 2020

VIA HAND DELIVERY

The Honorable Jennifer L. Hall
United States District Judge
United States District
Court for the District of Delaware
884 North King Street
Wilmington, DE 19801

       Re:     In re: Sensipar (Cinacalcet Hydrochloride Tablets) Antitrust Litigation, C.A.
               No. 19-md-02895 (LPS)
               All Direct Purchaser Actions:
               César Castillo, Inc. v. Amgen Inc. et. al., C.A. No. 19-cv-00396 (LPS)
               KPH Healthcare Services, Inc. v. Amgen, Inc., C.A. No. 19-cv-01460 (LPS)
               All Indirect Purchaser Actions:
               UFCW Local 1500 Welfare Fund v. Amgen Inc., C.A. No. 19-cv-369 (LPS)
               Teamsters Local 237 Welfare Fund, et al. v. Amgen Inc., C.A. No. 19-cv-01461
               (LPS)

Dear Magistrate Judge Hall:

       Direct Purchaser Plaintiffs and End-Payor Plaintiffs (“Plaintiffs”) write to confirm that
pursuant the Court’s instruction of July 22, 2020, counsel for the parties to the above-referenced
matters have conferred and agree that no redactions to the Report and Recommendation (D.I.
157; D.I. 120; D.I. 86; D.I. 91; D.I. 71) are necessary.

       Counsel for the parties are available should the Court have any questions.

       Respectfully submitted,                            Respectfully submitted,

         /s/ Ian Connor Bifferato                           /s/ Tiffany J. Cramer
       Ian Connor Bifferato (#3273)                       Tiffany J. Cramer (#4998)
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cc:    Counsel for Amgen (via email)
       Counsel for Teva (via email)
